Case 1:05-cv-Oll42-.]DT-STA Document 7 Filed 06/10/05 Page 1 of 2 Page|D 4

 

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EASTERN DrvlsroN ' ' ' -
CLARA I)ANCY, ) 55
, )
Plaintirf, )
)
vs. ) Case No.: l:Och1142 T-AN
)
MERCK & Co., INC., ) JURY I)EMANI)
)
Defendant. )

ORDER GRANTING STAY PENDING TRANSFER DECISION
BY THE JU})ICIAL PANEL ON MULTIDISTRICT LITIGATION

THIS CAUSE came before the Court on the joint motion of Plaintiff

C]ara Dancy and Defendant Merck & Co. Inc. to stay all pre-trial proceedings in this
action, pending its likely transfer by the Judicial Panel on Multidistrict Litigation to fn re
VIO}CYProdz/rcts Liab. Lz'tz`g. (MDL-l657), the proceeding that has been established in
the Eastern District of Louisiana to coordinate all product liability cases involving alleged
health risks from VIOXX®. The Court, having considered the Motion, and the entire
record in the cause, finds that the Motion is Well-taken and should be granted

IT IS, THEREFORE, ORDERED, ADJUDGED and DECREED that all pre-trial
proceedings in this action shall be stayed, pending its likely transfer by the J udicial Panel
on Multidistrict litigation to fn re VIOXXProducts Lia}). Litz'g. (MDL-1657).

SO ORDERED, ADJUDGED and DECR_EED, this the f 0 -d_ay of ,

 

2005.
UNITEW§TATES DISTRICT COURT JUDGE
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Honorable J ames Todd
US DISTRICT COURT

